Case 4:23-cv-01175-O       Document 60      Filed 05/24/24   Page 1 of 23   PageID 580



                       UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

 X CORP., a Nevada                           §
 corporation,                                §
                      Plaintiff,             §
                                             §
 vs.                                         §                Case No. 4:23-cv-01175-O
                                             §
 MEDIA MATTERS FOR AMERICA, a                §
 Washington, D.C. non-profit corporation,    §
 ERIC HANANOKI, and ANGELO                   §
 CARUSONE,                                   §
                                             §
                   Defendants.               §



                        BRIEF IN SUPPORT OF MOTION TO COMPEL
                            PRODUCTION OF DOCUMENTS




                                              JUDD E. STONE II
                                              CHRISTOPHER D. HILTON
                                              ARI CUENIN
                                              ALEXANDER M. DVORSCAK
                                              STONE | HILTON PLLC
                                              1115 W. Slaughter Lane
                                              Austin, TX 78748
                                              (737) 465-3897

                                              JOHN C. SULLIVAN
                                              S|L LAW PLLC
                                              610 Uptown Boulevard
                                              Suite 2000
                                              Cedar Hill, TX 75104
                                              (469) 523-1351

                                              COUNSEL FOR PLAINTIFF
Case 4:23-cv-01175-O                    Document 60               Filed 05/24/24               Page 2 of 23             PageID 581



                                                  TABLE OF CONTENTS

TABLE OF CONTENTS ................................................................................................................. i
TABLE OF AUTHORITIES .......................................................................................................... ii
FACTUAL AND PROCEDURAL BACKGROUND.................................................................... 1
ARGUMENT AND AUTHORITIES ............................................................................................. 3
   I. Defendants flatly refuse to produce discoverable information based on meritless and
      relevance, vagueness, and burden objections, which they have also failed to preserve. ....... 3
       A. Each disputed request in this category seeks relevant, nonprivileged information that is
          proportional to the needs of the case................................................................................ 3
       B. X’s requests are not vague. ............................................................................................... 6
       C. X’s requests are not unduly burdensome or harassing. ..................................................... 7
       D. Defendants’ anemic boilerplate is insufficient to preserve their objections. .................... 8
   II. Where Defendants have promised to produce documents “subject to” their objections, their
       objections are waived. .......................................................................................................... 10
       A. Defendants’ privilege objections are unsupported boilerplate....................................... 12
       B. In addition to procedural defects, Defendants’ privileges fail on their merits............... 13
          1. Defendants misunderstand the “reporter’s privilege” that they assert. ........................ 13
          2. Defendants’ asserted associational privilege does not bar non-state actor discovery. . 15
CONCLUSION ............................................................................................................................. 17
CERTIFICATE OF SERVICE ..................................................................................................... 19




                                                                  –i–
Case 4:23-cv-01175-O                     Document 60               Filed 05/24/24               Page 3 of 23             PageID 582



                                               TABLE OF AUTHORITIES

Cases
Alvarez v. Alid (Texas) LLC,
  No. 3:13-cv-04122, 2014 WL 3624929 (N.D. Tex. Jul. 22 2014) ............................................. 4
Americans for Prosperity Foundation v. Bonta,
  594 U.S. 595 (2021) .................................................................................................................. 16
City of Newport v. Fact Concerts, Inc.,
  453 U.S. 247 (1981) .................................................................................................................... 4
Crow v. ProPetro Services, Inc.,
  No. 7:15-cv-00149, 2016 WL 9776368 (N.D. Tex. June 6, 2016) ........................................... 10
Curtis v. Metro. Life Ins. Co.,
  No. 3:15-cv-02328, 2016 WL 687164 (N.D. Tex. Feb. 19, 2016) ............................................. 6
Gueye v. Mike Bloomberg 2020 Inc.,
  2021 WL 3910341 (N.D. Tex. Mar. 12, 2021) ................................................................... 16, 17
Hardy v. Gissendaner,
  508 F.2d 1207 (5th Cir. 1975) .................................................................................................. 16
Heller v. City of Dall.,
  303 F.R.D. 466 (N.D. Tex. 2014) ............................................................................. 9, 10, 11, 12
Henry v. First Nat. Bank of Clarksdale,
  444 F.2d 1300 (5th Cir. 1971) .................................................................................................. 16
Holland v. Centennial Homes, Inc.,
  No. 3:92-CV-1533-T, 1993 WL 755590 (N.D. Tex. Dec. 21, 1993) ....................................... 14
In re Santa Fe Int’l Corp.,
   272 F.3d 705 (5th Cir. 2001) .................................................................................................... 13
In re Selcraig,
   705 F.2d 789 (5th Cir. 1983) .............................................................................................. 13, 14
Janvey v. GMAG LLC,
  No. 3:15-CV-00401, 2016 WL 11782222 (N.D. Tex. Oct. 7, 2016).......................................... 8
Karem v. Priest,
  744 F. Supp. 136 (W.D. Tex. 1990) ......................................................................................... 13
Keefe v. City of Minneapolis,
  No. CIV. 09-2941 DSD/SER, 2012 WL 7766299 (D. Minn. May 25, 2012) .......................... 14
Kitzmiller v. Dover Area Sch. Dist.,
  379 F. Supp. 2d 680 (M.D. Pa. 2005) ....................................................................................... 14
Le v. Lockheed Martin Corp.,
  No. 4:24-cv-00031, 2024 WL 832374 (N.D. Tex. Feb. 6, 2024) ............................................... 4
Loc. Union No. 48 of Sheet Metal Workers Int’l Ass’n v. Hardy Corp.,
  332 F.2d 682 (5th Cir. 1964) .................................................................................................... 17


                                                                  – ii –
Case 4:23-cv-01175-O                     Document 60                Filed 05/24/24                Page 4 of 23              PageID 583



Lopez v. Don Herring Ltd.,
  327 F.R.D. 567 (N.D. Tex. 2018) ............................................................................................. 11
Mahalingam v. Wells Fargo Bank, N.A.,
 No. 3:22-CV-1076-L, 2023 WL 3575645 (N.D. Tex. May 19, 2023) ..................................... 12
Mize v. McGraw-Hill, Inc.,
  82 F.R.D. 475 (S.D. Tex. 1979) .......................................................................................... 16, 17
Naoko Ohno v. Yuko Yasuma,
  723 F.3d 984 (9th Cir. 2013) .................................................................................................... 17
NAACP v. Alabama ex rel. Patterson,
  357 U.S. 449 (1958) .................................................................................................................. 15
Orchestrate HR, Inc. v. Trombetta,
  178 F. Supp. 3d 476 (N.D. Tex. 2016) ..................................................................................... 10
Perry v. Schwarzenegger,
  591 F.3d 1147 (9th Cir. 2010) .................................................................................................. 16
RealPage, Inc. v. Enter. Risk Control, LLC,
  No. 4:16-CV-00737, 2017 WL 1165688 (E.D. Tex. Mar. 29, 2017) ....................................... 11
Shelley v. Kraemer,
  334 U.S. 1 (1948) ................................................................................................................ 16, 17
Sw. Insulation, Inc. v. Gen. Insulation Co.,
  No. 4:15-cv-00601, 2016 WL 9244822 (N.D. Tex. April 25, 2016) .......................................... 9
United States v. Smith,
  135 F.3d 963 (5th Cir. 1998) .................................................................................................... 13
Whole Woman’s Health v. Smith,
 896 F.3d 362 (5th Cir. 2018) .................................................................................................... 15

Rules
Fed. R. Civ. P. 26(b)(5)(A)(ii) ...................................................................................................... 13
Fed. R. Civ. P. 26(g) ....................................................................................................................... 9
Fed. R. Civ. P. 26(g)(3)................................................................................................................. 12

Other Authorities
“Take Action,” MEDIA MATTERS FOR AMERICA,
  https://www.mediamatters.org/take-action (last visited May 24, 2024) ..................................... 6
FINANCIAL SUPPORT, COLLINS DICTIONARY,
  https://www.collinsdictionary.com/ us/dictionary/english/financial-support
  (last accessed May 24, 2024) ...................................................................................................... 6




                                                                   – iii –
Case 4:23-cv-01175-O         Document 60         Filed 05/24/24      Page 5 of 23       PageID 584



       Early in discovery, Plaintiff X Corp. served targeted requests for production on Defendants

Media Matters for America, Eric Hananoki, and Angelo Carusone. When Defendants stonewalled,

X began a lengthy meet-and-confer process to understand and, if possible, address their objections.

Those efforts were almost completely fruitless. Notwithstanding a looming discovery deadline,

Defendants still have not produced most of the responsive documents that they possess. That poses

a problem requiring this Court’s intervention. The withheld documents are essential to

understanding the central allegation that X raises in its amended complaint: Defendants’ tortious

interference with X’s advertisers through the publication of two deeply misleading articles about

the company’s social media platform. See Am. Compl. ¶¶ 30-38, 46-54.

       In the absence of responsive documents, this case is at a standstill. X cannot retain experts,

let alone depose key witnesses, without an understanding of the universe of relevant documents

that Defendants are improperly withholding without any basis in the Federal Rules of Civil

Procedure. The Court should therefore compel Defendants to promptly make a complete

production responsive to X’s requests with sufficient time for the parties to timely finish discovery.

                      FACTUAL AND PROCEDURAL BACKGROUND

       In the fall of 2023, Defendant Hananoki wrote, Defendant Media Matters published, and

Defendant Carusone trumpeted a series of articles that attacked X with false and pernicious

statements about X and the content appearing on X’s platform. Am. Compl. ¶¶ 30-38, 46-54. As a

result of that tortious conduct, major advertisers withdrew from X’s platform. Id. ¶¶ 30-38, 61-64.

Because of the ongoing damage caused by Defendants’ lies, X brought claims for business

disparagement, tortious interference with contract, and tortious interference with prospective

economic advantage. Id. ¶¶ 65-88.




                                                –1–
Case 4:23-cv-01175-O        Document 60        Filed 05/24/24      Page 6 of 23     PageID 585



       On February 5, 2024, after the discovery period opened, X began serving written discovery

requests. X’s first set of written discovery included 29 requests for production. Those requests

largely concern categories of documents and other evidence related to the articles, X Corp., and

the X platform. See Appx. 12-13. Others request information relevant to Media Matters’ finances,

financial condition, and insurance coverage—matters clearly relevant to any litigation in which a

plaintiff seeks damages. Appx. 13-14 (Requests 12-18). And the rest seek information relevant to

Defendants’ states of mind, communications with like-minded persons and organizations, and

other information expected to show knowledge, intent, motive, and other relevant, permissible

matters. See Appx. 13-14 (Requests 11, 19-20). X’s second set of written discovery relates to

similar issues, as well as those issues that Defendants have raised in their motions to the court.

Appx. 38-41 (Requests 30-47).

       In their responses to these requests, Defendants have asserted virtually every conceivable

basis for withholding production. Appx. 42-77, 114-138 (Defendants’ objections and responses).

They flatly refuse to ever produce anything in response to 14 out of X’s 47 requests. For the

remaining 33, they assert a variety of inapplicable privileges and unsupported, boilerplate

objections, and impermissibly promise to produce documents “subject to” those objections.

Although Defendants claim in their responses not to be “presently withholding responsive

documents,” they have made only two small document productions, despite receiving X’s first set

of requests months ago. In conferences among counsel, Defendants have stated their intention to

make rolling productions on a bi-weekly basis—but Defendants will not commit to timely

production of all relevant documents such that discovery can be completed during the Court’s

discovery period. Weeks of back-and-forth among counsel have not resolved these disagreements,

necessitating this motion. Appx. 139-174 (exchanges between counsel).




                                              –2–
Case 4:23-cv-01175-O          Document 60        Filed 05/24/24       Page 7 of 23       PageID 586



                              ARGUMENT AND AUTHORITIES

I.     Defendants flatly refuse to produce discoverable information based on meritless
       relevance, vagueness, and burden objections, which they have also failed to preserve.

       Defendants have refused to produce any documents in response to X’s Request Nos. 9, 11,

13-14, 16-18, 21, 35, 37-38, 43, and 46-47. See Appx. 53-68, 116-136. They also seek to

impermissibly limit Request Nos. 15, 23, and 42. See id. The stated basis for this refusal is

relevance, vagueness, and undue burden/harassment. But as to each objection, Defendants’

objections are meritless—and even if there was any arguable merit to their objections, they are

waived for their failure to sufficiently state the basis of their objections. The Court should overrule

all Defendants’ objections to these requests and compel production in full.

       Defendants also assert blanket privileges on these requests. Such assertion is improper for

the reasons discussed below in Part III, and Defendants have therefore waived the related

privileges, for the reasons explained below.

       A.       Each disputed request in this category seeks relevant, nonprivileged
                information that is proportional to the needs of the case.

       Defendants have questioned the relevance of these requests in writing and during

conferences among counsel. Despite Plaintiff having explained the relevance, Defendants persist

in their objections. Because these requests seek relevant documents, Defendants’ objections should

be overruled.

       Request No. 9: X seeks documents and communications with X’s advertisers. Appx. 26.

Given that X’s claim is that Defendants tortiously interfered with X’s existing and prospective

contracts with its advertisers, X is entitled to full and complete discovery into what Defendants

said to X’s advertisers. This will provide direct evidence of Defendants’ interference with X’s

contracts and business relations. Additionally, responsive documents regarding advertising or




                                                –3–
Case 4:23-cv-01175-O         Document 60         Filed 05/24/24      Page 8 of 23       PageID 587



support for Defendants will likely show Defendants’ states of mind, motivations, and intentions,

as well as evidence of their knowledge of facts and anticipation of consequences relevant to

liability and punitive damages.

       Request Nos. 11, 17-18, 21, and 35: X seeks communications with public officials and

related entities, documents related to donors and their financial support, and documents and

communications related to Media Matters’ solicitations and sources of funding. Appx. 26-28.

Responsive documents will uncover evidence of Defendants’ motives and intentions, individuals

with whom they worked on the articles and who funded the project, and reveal Defendants’

personal and political vendetta against X. These targeted requests will capture or lead to evidence

relevant to Defendants’ subjective intent to harm X supporting elements of X’s tortious

interference and business disparagement claims.

       Request Nos. 13-16: X seeks relevant financial information and related materials. Appx.

26-27. Defendants’ financial information is discoverable and proportional because X seeks

punitive damages. See City of Newport v. Fact Concerts, Inc., 453 U.S. 247, 270 (1981)

(“[E]vidence of a tortfeasor’s wealth is traditionally admissible as a measure of the amount of

punitive damages that should be awarded”); Le v. Lockheed Martin Corp., No. 4:24-cv-00031,

2024 WL 832374, at *1 (N.D. Tex. Feb. 6, 2024) (Ray, Mag. J.) (“[C]ourts have consistently

ordered discovery of the defendant’s net worth where punitive damages are sought.”); Alvarez v.

Alid (Tex.) LLC, No. 3:13-cv-04122, 2014 WL 3624929, at *2–3 (N.D. Tex. Jul. 22 2014) (Horan,

Mag. J.) (“[A] party seeking discovery of net-worth information need not satisfy any evidentiary

prerequisite, such as making a prima facie showing of entitlement to punitive damages.”). X is

thus entitled to discovery related to Media Matters’ received donations, income, expenditures,

financial obligations, and net worth. Also, Defendants’ initial disclosures are insufficient given the




                                                –4–
Case 4:23-cv-01175-O        Document 60        Filed 05/24/24      Page 9 of 23      PageID 588



possibility that responsive documents will show third-parties or other donors who are not insurers

but who are nevertheless funding Defendants’ tortious conduct or insulating them from the

consequences.

       Request Nos. 23, 37-38, and 43: X seeks information about Defendants’ actions taken to

write and publish the November 2023 articles and commit their other tortious acts. Appx. 28, 39.

These requests seek communications with Hananoki and Gertz (a senior fellow at Media Matters)

immediately before Elon Musk’s purchase of X through the tortious conduct, Hananoki’s travel

during the relevant time, and Defendants’ subsequent coverage after their initial tortious act. The

articles that Hananoki wrote lie at the heart of this case, and communications with him are clearly

relevant to establishing, at a minimum, motive, intent, and liability. Likewise, Hananoki’s travel

during the time he was working on the articles, who he met, and what they discussed is reasonably

calculated to uncover information, including potential witnesses’ identities, relevant documents,

and other evidence supporting personal jurisdiction and venue. This information is also relevant

to understanding the motivations, funding, and support behind Defendants’ crusade against X.

       Request Nos. 46 and 47: X seeks documents related to Defendants’ past bad behavior,

including libel, malicious, or discriminatory conduct. Appx. 40-41. These documents will reveal

whether Defendants had policies and procedures in place to prevent reporting falsehoods or

whether they fostered a culture tolerating and encouraging such behavior. Other instances where

Defendants have lied, discriminated, or otherwise defamed in the past are relevant to determining

whether they did so again here, as well as supporting their knowledge, intent, and malice. Thus,

responsive documents will support, at a minimum, X’s claim for punitive damages. Further,

Defendants cannot block discovery by speculating on a document’s ultimate admissibility at trial,




                                              –5–
Case 4:23-cv-01175-O        Document 60       Filed 05/24/24      Page 10 of 23       PageID 589



and Defendants’ witnesses may open the door to the use of these documents during their testimony.

See Fed. R. Civ. P. 26(b)(1).

       B.      X’s requests are not vague.

       Relatedly, Defendants insist (in response to Request Nos. 1, 2, 7, 9, 10, 14, 16-18, 22, 25-

30, 35, and 41-45) that terms in X’s requests are vague. In doing so, Defendants were obligated to

provide their understanding of the term. See Curtis v. Metro. Life Ins. Co., No. 3:15-cv-02328,

2016 WL 687164, at *5–6 (N.D. Tex. Feb. 19, 2016) (Horan, Mag. J.). For many of their objections

(Request Nos. 7, 10, 14, 16-18, 22, 35, and 41-45), Defendants do not even identify which term is

objectionably vague. Those objections should be overruled as a matter of course. See id.

       In other instances, Defendants do not explain how straightforward terms in X’s requests

are vague. For example, Request No. 9 asks for “all communications with X’s advertisers about

advertising with or financially supporting” Defendants. Appx. 26. Defendants claim that

“financially supporting” is vague. Appx. 54. It is hard to take that objection seriously. As one

dictionary has defined it, the meaning of “financial support” includes donating money to,

purchasing services from, or otherwise contributing money to encourage or assist that

organization. See FINANCIAL SUPPORT, COLLINS DICTIONARY, https://www.collinsdictionary.com/

us/dictionary/english/financial-support (last accessed May 24, 2024). Defendants’ counsel did not

offer a substantially differing understanding of the term during conferences or explain why the

term “financially supporting”—a term that Media Matters itself uses in connection with its own

fundraising efforts *—is in any way vague. Defendants should not be allowed to evade their

discovery obligations based on vagueness objections that are themselves difficult to decipher.


*
  See, e.g., “Take Action,” MEDIA MATTERS FOR AMERICA, https://www.mediamatters.org/take-
action (last visited May 24, 2024) (“Sign up here to join the effort to encourage Hannity’s
advertisers to stop financially supporting his propaganda.”).


                                              –6–
Case 4:23-cv-01175-O        Document 60       Filed 05/24/24       Page 11 of 23      PageID 590



       In two instances, Defendants put forward enough information for X to understand their

vagueness concerns: X’s request for “notes” (Request Nos. 1, 30) and “platform account data”

(Request Nos. 2, 31). X actually agrees with Defendants that “notes” means “written records

created in the process of reporting, writing, and publishing the November 16, 2023 Article.” X

disagrees, however, that “Platform account data” is limited to just the “usernames of accounts on

the X Platform relied on, referenced, created, or considered in investigating, working on, writing,

publishing, and disseminating the referenced article”—instead, X submits that properly construed,

this term means login information, messages sent and received, login dates, and related

information, as well as communications from the Platform itself, such as automatically generated

emails regarding activity on each user account. Counsel for the parties have discussed both terms,

and reached agreement as to “notes,” but Defendants have not committed to producing “Platform

account data” as properly understood. Accordingly, Defendants’ unsupported and unsupportable

vagueness objections should be overruled.

       C.      X’s requests are not unduly burdensome or harassing.

       With respect to these bases for complete non-production, Defendants’ objections include

near-identical boilerplate in virtually every response. For example, in 35 out of 47 requests

(Request Nos. 5-19, 21, 23-29, 34-38, and 41-47), Defendants object: “this Request [is] overly

broad, not reasonably particularized, unduly burdensome, and disproportionate to the needs of this

case, including to the extent it seeks documents not relevant to any claim or defense asserted in

this litigation.” See, e.g., Appx. 25 (Request No. 5). No supporting basis is stated. See also ECF

No. 54 at 9 (“Defendants do not explain why this request is overbroad. It may well be the case that

this request is appropriate in the circumstances of this case.”) For nine of their 35 objections

(Request Nos. 11-14, 16-18, 21, and 35), Defendants add “harassing” for good measure, but never

explain why those eight requests are “harassing” or otherwise distinct from the others. See Appx.


                                              –7–
Case 4:23-cv-01175-O        Document 60        Filed 05/24/24      Page 12 of 23        PageID 591



56-60, 61-65, 67-68, 122-23. Defendants provide no reason why these requests are harassing, and

indeed they cannot—X is not harassing Defendants and, instead, is only engaging in discovery to

request all relevant documents that will expose and demonstrate Defendants’ tortious behavior.

       Likewise, in none of their 35 “burdensome” objections do Defendants identify any actual

production burden, let alone providing a cost estimate. See, e.g., Dkt. 54 at 11 (“[T]he party

resisting discovery bears the responsibility of actually establishing the undue burden”). They do

not explain how the requests are “disproportionate to the needs of this case,” either by identifying

the number of responsive documents or how production is “disproportionate” to a dispute with

over $100 million at issue. Janvey v. GMAG LLC, No. 3:15-CV-00401, 2016 WL 11782222, at *4

(N.D. Tex. Oct. 7, 2016) (Bryant, Mag. J.) (“[T]he substantial amount in controversy weighs in

favor of allowing the discovery, even where time and cost estimates may be significant.”).

       In attempts to understand Defendants’ objections, Plaintiff has requested basic information

regarding production, such as the identities of custodians, sources and volume of data collection,

and other information that is routinely exchanged among counsel in cases involving voluminous

discovery. Defendants’ counsel also flatly refused to provide any of this information, instead

demanding that Plaintiff send an interrogatory asking for things like custodians and collection

criteria. All that Defendants have said is that they have collected 3.5TB of data, which is a

meaningless number without any context regarding Defendants’ custodians and collection efforts.

Accordingly, Defendants have fallen well short of demonstrating the unduly burdensome and

harassing nature of these or any requests. These objections should also be overruled.

       D.      Defendants’ anemic boilerplate is insufficient to preserve their objections.

       Even if any of Defendants’ objections had any merit—they do not—Defendants’

insufficient discovery responses have resulted in them waiving their objections entirely. Courts in

this District have long warned parties that these sorts of “general, generic objections violate the


                                               –8–
Case 4:23-cv-01175-O        Document 60        Filed 05/24/24       Page 13 of 23       PageID 592



Federal Rules and are invalid.” Heller v. City of Dall., 303 F.R.D. 466, 483 (N.D. Tex. 2014)

(Horan, Mag. J.). They “are meaningless and constitute a waste of time for opposing counsel and

the court.” Id. “In the face of such objections, it is impossible to know whether information has

been withheld and, if so, why.” Id. (quotation omitted). A “failure to particularize objections leads

to one of two conclusions: either [respondent] lacked a factual basis to make the objections they

did, which would violate Rule 26(g), or they complied with Rule 26(g), made a reasonable inquiry

before answering and discovered facts that would support a legitimate objection, but they were

waived for failure to specify them as required.” Id. at 484 (quotation omitted). Accordingly, a party

must “show specifically how each discovery request is not relevant or otherwise objectionable”

and “com[e] forward with specific information.” Sw. Insulation, Inc. v. Gen. Insulation Co., No.

4:15-cv-00601, 2016 WL 9244822, at *3 (N.D. Tex. April 25, 2016) (O’Connor, J.).

       For example, in Heller, the party resisting discovery included boilerplate language

claiming privilege: “to the extent they seek disclosure [of] matters protected by attorney-client

privilege, work product doctrine, legislative privilege, or other exemptions or privileges

recognized, among other things, by applicable law and/or rules of evidence and civil procedure.”

303 F.R.D. at 482. Such language “is an off-the-shelf and decidedly non-specific objection that

gains the responding party nothing without . . . explaining precisely how that request exceeds or

conflicts with the scope of permissible discovery.” Id. at 484. Likewise, for boilerplate undue

burden objections, “the very act of making such boilerplate objections is prima facie evidence of

a Rule 26(g) violation.” Id. at 490 (“[I]f the lawyer had paused, made a reasonable inquiry, and

discovered facts that demonstrated the burdensomeness or excessive cost of the discovery request,

he or she should have disclosed them in the objection, as both Rule 33 and 34 responses must state




                                               –9–
Case 4:23-cv-01175-O        Document 60        Filed 05/24/24      Page 14 of 23       PageID 593



objections with particularity, on pain of waiver.”); see also Orchestrate HR, Inc. v. Trombetta, 178

F. Supp. 3d 476, 507–08 (N.D. Tex. 2016) (Horan, Mag. J.).

       Likewise, in Crow v. ProPetro Services, Inc., a party served boilerplate responses,

objecting “the request is ambiguous and fails to identify with specificity the documents requested”

and “this request is vague, ambiguous, overly broad, and unduly burdensome, and it seeks

documents that are not relevant or reasonably calculated to lead to the discovery of admissible

evidence.” No. 7:15-cv-00149, 2016 WL 9776368, at *4 (N.D. Tex. June 6, 2016) (Counts, Mag.

J.). Because that party had “failed to support its objections” and did not “show how the requested

discovery was overly broad, burdensome, or oppressive,” the Court rejected those objections as

waived. Id.

       So too here. Because Defendants provided no support for their relevance, vagueness, and

burden/harassment objections, their “boilerplate objections” are “waived.” Id. at *4. Moreover,

because the objections fail to “explain[] precisely how that request exceeds or conflicts with the

scope of permissible discovery” the objections should be overruled. See Heller, 303 F.R.D. at 484.

Accordingly, X requests the Court overrule all of Defendants’ objections to Request Nos. 5–19,

21, 23–29, 34–38, and 41–47, and compel Defendants to produce all documents responsive to

those requests.

II.    Where Defendants have promised to produce documents “subject to” their
       objections, their objections are waived.

       For those document requests where Defendants have agreed to produce responsive

documents, e.g., Appx. 49-53, 64-65 (RFP Nos. 5-8, 15, 19), virtually all of them contain the same

boilerplate described above. On their merits, these objections should be overruled for the same

reasons described above. But for most requests, including Request No. 1, Defendants agree to

produce documents on a rolling basis “subject to, and without waiving these objections,” after “a



                                              – 10 –
Case 4:23-cv-01175-O        Document 60        Filed 05/24/24      Page 15 of 23       PageID 594



reasonable search.” See, e.g., Appx. 45. None of these kinds of responses state what categories of

documents, if any, that Defendants are withholding based on those objections. Nor do Defendants

identify the bounds or process by which their limitation of documents searched was “reasonable.”

Id. During meet and confers, Defendants’ counsel refused to disclose what custodians or search

terms were being used as limiting factors. See Appx. 152-53. There is accordingly no way for X

to know what responsive documents Defendants are withholding.

       As Heller explained, responding “subject to” or “without waiving” “has no basis at all in

the Federal Rules of Civil Procedure” and is improper. 303 F.R.D. at 486–87 (“[It] is manifestly

confusing (at best) and misleading (at worse).”) (quotation omitted); see also RealPage, Inc. v.

Enter. Risk Control, LLC, No. 4:16-CV-00737, 2017 WL 1165688, at *3 (E.D. Tex. Mar. 29, 2017)

(“Rule 34 does not allow this kind of hedging.”). This is because “responding to a document

request or interrogatory [subject to and without waiving objections] leaves the requesting party

guessing and wondering as to the scope of the documents or information that will be provided as

responsive will be.” Heller, 303 F.R.D. at 487. Accordingly, “[i]f a discovery request is overbroad,

the responding party must . . . explain the scope of what the responding party is answering or

responding to.” Id. at 488. “Similarly, if answering or responding to a discovery request would

impose an undue burden, the responding party must . . . only answer or respond to the part or

extent, if any, of the request that would not involve an undue burden.” Id. at 489. That Defendants

are still in the process of reviewing documents does not change this analysis—the objections are

still waived. See Lopez v. Don Herring Ltd., 327 F.R.D. 567, 583 (N.D. Tex. 2018) (Horan, Mag.

J.) (“General, boilerplate, and unsupported objections [to which documents are produced ‘subject

to’] preserve nothing and—regardless of a party or an attorney’s concerns about what they do not




                                              – 11 –
Case 4:23-cv-01175-O         Document 60         Filed 05/24/24       Page 16 of 23       PageID 595



know or have not yet located or may later find—are ‘improper and ineffective.’” (quoting Heller,

303 F.R.D. at 483–84)).

        Although courts caution that making objections in this manner can be sanctionable, X asks

only that this Court overrule Defendants’ objections. See, e.g., Mahalingam v. Wells Fargo Bank,

N.A., No. 3:22-CV-1076-L, 2023 WL 3575645, at *14 (N.D. Tex. May 19, 2023) (Horan, Mag.

J.) (“The Court has warned that counsel who fail to comply the Federal Rules’ and case law’s

requirements for discovery responses and objections may face sanctions—including under Rule

26(g)(3) —and does so here again.”). Accordingly, to the extent that Defendants seek to withhold

any documents on the basis of these objections, they must be compelled instead to produce all

responsive materials, and Defendants should be required to provide sufficient information to X’s

counsel to allow a legitimate evaluation regarding the reasonableness of their collection and

production efforts.

III.    Defendants’ Privilege Objections Should Be Overruled.

        A.      Defendants’ privilege objections are unsupported boilerplate.

        Defendants’ privilege-based objections fare no better. Defendants do not even specify each

of their claimed privileges, let alone assert them sufficiently for this Court to rule on them. Instead,

for every objection, Defendants assert the following catchall: attorney-client privileges, work-

product protections, “and/or any other applicable privilege or shield law, and/or constitute trial

preparation material within the meaning of Rule 26.” See, e.g., Appx. 45 (RFP No. 1).

        Even where Defendants attempt to identify a specific First Amendment privilege objection,

they still act in a scattershot manner: sometimes claiming a reporter’s privilege (e.g., RFP No. 1),

sometimes against the purported chilling of their speech and associational rights, (e.g., RFP No.

3), and sometimes against production of donor information. (e.g., RFP No. 17). Defendants never

describe what the First Amendment privileges, invoked by rote repetition, ostensibly protect.


                                                – 12 –
Case 4:23-cv-01175-O        Document 60        Filed 05/24/24       Page 17 of 23       PageID 596



       Because Defendants do not assert privilege objections with any specificity and indeed

attempt a catchall privilege objection applicable to each request, the privilege claims should be

disregarded. See In re Santa Fe Int’l Corp., 272 F.3d 705, 710 (5th Cir. 2001) (“A party asserting

a privilege exemption from discovery bears the burden of demonstrating its applicability.”). And

for the requests where Defendants have asserted a blanket privilege as a basis for complete non-

production of documents, Defendants’ privilege objections should be overruled in their entirety,

or at a minimum, Defendants must be compelled to provide a privilege log. Fed. R. Civ. P.

26(b)(5)(A)(ii). X accordingly requests that the Court overrule the boilerplate and catchall

privilege objection that Defendants asserted in every response and compel production of any

responsive documents Defendants were otherwise intending to withhold on that basis.

       B.      In addition to procedural defects, Defendants’ privileges fail on their merits.

               1.      Defendants misunderstand the “reporter’s privilege” that they assert.

       Defendants abuse the notion of a “reporter’s privilege” that would shield the requested

documents from production. The Fifth Circuit has recognized exactly one privilege for a journalist:

a qualified privilege against having to divulge a confidential source’s identity. In re Selcraig, 705

F.2d 789, 792–93 (5th Cir. 1983); see Appx. 45 (relying on Selcraig). Courts have rejected a

broader privilege even in a criminal context. Selcraig, 705 F.2d at 799 n.15; Karem v. Priest, 744

F. Supp. 136, 137 (W.D. Tex. 1990). Regardless, this privilege does nothing for Media Matters or

Carusone: it must be invoked by the reporter. See Selcraig, 705 F.2d at 798; Karem, 744 F. Supp.

at 138. For example, in United States v. Smith, the Fifth Circuit explained that there was “little

support” for a television station’s attempt to assert a reporter’s privilege—that at most covered the

“rights of the newsmen.” 135 F.3d 963, 970 (5th Cir. 1998).

       Thus, insofar as Defendants invoke the limited privilege recognized in Selcraig, e.g., Appx.

45-46, 116-17, they cannot even benefit from that case’s limited holding. Defendants never clarify


                                               – 13 –
Case 4:23-cv-01175-O         Document 60        Filed 05/24/24       Page 18 of 23        PageID 597



exactly what responsive documents sought by X they believe are covered by the “reporter’s

privilege.” The premise of Defendants’ case is that Media Matters merely reported what could be

seen on the X platform by “ordinary” users, for which there “is no intrusion into newsgathering or

special functions of the press” since reporters recounting what they have “seen or heard” in public

can be questioned as a “witness like any other member of the public.” Kitzmiller v. Dover Area

Sch. Dist., 379 F. Supp. 2d 680, 687 (M.D. Pa. 2005) (citations omitted). Defendants should be

estopped from arguing otherwise in a self-serving assertion of privilege.

       Regardless, here, the requested discovery into Hananoki’s notes, drafts, and sources is

necessary—and can overcome the qualified nature of the non-absolute privilege—because

Hananoki is a party and information about his reporting is central to both the jurisdictional and

merits claims in this case, and especially with respect to the disputed intent elements of each of

X’s claims. Cf., e.g., Holland v. Centennial Homes, Inc., No. 3:92-CV-1533-T, 1993 WL 755590,

at *6 (N.D. Tex. Dec. 21, 1993) (Sanderson, Mag. J.) (“Discovery of the private work product of

a reporter should not be compelled upon the mere speculation of possible impeaching material

alone, especially in a civil case where the reporter is neither a party nor a witness to the facts upon

which the lawsuit is based.”). As both a party and a witness, X is entitled at a minimum to such

discovery from Hananoki. Cf. Keefe v. City of Minneapolis, No. CIV. 09-2941 DSD/SER, 2012

WL 7766299, at *4 (D. Minn. May 25, 2012) (contrasting this scenario with discovery sought from

a reporter who was “neither a party nor a witness to any of the underlying facts”). Of course,

Defendants have yet to produce a log even attempting to quantify the number of individuals for

whom the disclosure of identity could even arguably vitiate a privilege.

       Even if Defendants could rely on Selcraig’s limited privilege, nothing prevents production

of materials (in camera, if necessary) that work around that narrow constraint. Only a miniscule




                                                – 14 –
Case 4:23-cv-01175-O        Document 60       Filed 05/24/24       Page 19 of 23      PageID 598



percentage of what X requested even arguably requires the disclosure of the disputed identities.

For example, donor identifiers provide no basis for a claim of a reporter’s privilege, and the

substance of what sources said is not protected even if Selcraig was applicable. And Hananoki’s

notes and drafts are not privileged because of a source’s identity alone, which could be redacted

in any case.

               2.     Defendants’ asserted associational privilege does not bar non-state
                      actor discovery.

       Defendants’ associational privilege claim fares no better. The Court may charitably ignore

Defendants’ attempted comparison of their tortious conduct to the NAACP facing possible

dissolution by Alabama’s attempt to obtain a donor list in the Civil Rights Era. See NAACP v.

Alabama ex rel. Patterson, 357 U.S. 449, 460 (1958). Media Matters makes no comparable

showing of its membership to the people combatting segregation, for whom “compelled disclosure

of . . . membership is likely to affect adversely the ability of [the NAACP] and its members to

pursue their collective effort to foster beliefs which they admittedly have the right to advocate.”

Id. at 462–63. Such egregious revisionism lends no help to Media Matters, which can claim no

comparable state action.

       An associational privilege is, at most, qualified. The Fifth Circuit in Whole Woman’s

Health v. Smith instructed that the internal communications of an organization may be protected

in limited factual circumstances. 896 F.3d 362, 372 (5th Cir. 2018). There, the panel also noted

that the party resisting discovery had “already cooperated extensively in discovery in a way that

minimizes any adverse impact on the plaintiffs’ ability” to conduct necessary cross-examination.

Id. at 374. Here, Defendants seek to avoid discovery into matters related to its donors altogether.

Media Matters cannot claim a categorical First Amendment privilege—let alone in this context,

where the location of donors, persons from whom Media Matters solicited information, and



                                              – 15 –
Case 4:23-cv-01175-O         Document 60        Filed 05/24/24       Page 20 of 23        PageID 599



individuals contacted regarding Media Matters’ “reporting” are relevant jurisdictional facts that

Defendants have placed at issue.

       Defendants also cannot rely on Americans for Prosperity Foundation v. Bonta, 594 U.S.

595 (2021). Like Alabama in NAACP, California was a state actor in Bonta, thus triggering the

First Amendment’s application. Id. at 616. There is simply no “state action” here that could even

arguably support such an association privilege. Id. The same is true of Defendants’ misplaced

reliance on Perry v. Schwarzenegger, 591 F.3d 1147, 1160 (9th Cir. 2010), given that the state

action in that case was obvious: the defendants included numerous government parties, including

then-governor Arnold Schwarzenegger, in a challenge to California’s same-sex marriage law.

       That this Court might compel discovery does not provide the relevant state action.

Otherwise, everyone would enjoy a privilege against discovery on speech/association grounds for

every reason. Under Fifth Circuit precedent, “there is no ‘state action’ to be found in the mere

filing of a private civil tort action in state court.” Henry v. First Nat. Bank of Clarksdale, 444 F.2d

1300, 1312 (5th Cir. 1971). That reality has left Defendants bereft of case law supporting their

reliance on the First Amendment in conferencing this motion. And their assertion that “the judicial

process . . . represents state action, even in cases between private parties” is contrary to law. Appx.

162 (Apr. 26, 2024 Email from A. Ahmed) (citing Shelley v. Kraemer, 334 U.S. 1, 14–15 (1948);

Gueye v. Mike Bloomberg 2020 Inc., 2021 WL 3910341, at *2 (N.D. Tex. Mar. 12, 2021) (Ray,

Mag. J.); Mize v. McGraw-Hill, Inc., 82 F.R.D. 475, 476-78 (S.D. Tex. 1979)). Courts across the

country, including the Fifth Circuit, have rejected the argument that mere coercive state judicial

process constitutes state action. E.g., Hardy v. Gissendaner, 508 F.2d 1207, 1210–11 (5th Cir.

1975); Loc. Union No. 48 of Sheet Metal Workers Int’l Ass’n v. Hardy Corp., 332 F.2d 682, 685–

86 (5th Cir. 1964). Indeed, “Shelley’s attribution of state action to judicial enforcement has




                                                – 16 –
Case 4:23-cv-01175-O         Document 60        Filed 05/24/24       Page 21 of 23       PageID 600



generally been confined to the context of discrimination claims under the Equal Protection

Clause.” Naoko Ohno v. Yuko Yasuma, 723 F.3d 984, 998–1000 (9th Cir. 2013). “In the context

of First Amendment challenges to speech-restrictive provisions in private agreements or contracts,

domestic judicial enforcement of terms that could not be enacted by the government has not

ordinarily been considered state action.” Id.

       Neither of Defendants’ two, non-binding district-court cases depart from that great weight

of authority in the context of discovery. Gueye actually denied an assertion of privilege by rejecting

essentially the same argument advanced by Defendants here. 2021 WL 3910341, at *2–3. And the

other, Mize, is not an associational-privilege case: it merely applies an ostensible reporter’s

privilege in civil cases by reference to criminal grand-jury proceedings (where there is obvious

state action). 82 F.R.D. at 476. Even if this Court considered the non-binding Mize decision, it

stands for nothing more than that courts should consider case-by-case the “extent to which pretrial

discovery had been conducted, the fruits of that discovery, and the resulting demonstrated need or

lack of need for compelling disclosure of the news reporter’s confidential source.” Id. at 477.

Unlike the movant in Mize, X has diligently sought discovery, only to be hampered by Defendants

despite “showing that the identity of the news source goes to the heart of the plaintiff’s claim.” Id.

at 478. X has requested information regarding Media Matters’ donors and its finances for obvious

and allowed reasons: (1) to see how Defendants have availed themselves of Texas; (2) to see if

they are profiting from their disparagement; and (3) to see their financial condition. At a minimum,

these factors are relevant to establish jurisdiction, compensatory damages, and punitive damages.

                                          CONCLUSION
       X respectfully requests that the Court overrule Defendants’ objections and order

Defendants to promptly produce all materials responsive to X’s requests for production. For any

privilege claims that the Court concludes Defendants retain following a ruling on this motion, X


                                                – 17 –
Case 4:23-cv-01175-O         Document 60         Filed 05/24/24       Page 22 of 23   PageID 601



requests that the Court order Defendants to contemporaneously provide a privilege log identifying

all such assertions of privilege with specificity.


Dated: May 24, 2024.                                     Respectfully submitted,

                                                         /s/ Christopher D. Hilton
                                                         Judd E. Stone II
                                                         Texas Bar No. 24076720
                                                         Christopher D. Hilton
                                                         Texas Bar No. 24087727
                                                         Ari Cuenin
                                                         Texas Bar No. 24078385
                                                         Alexander M. Dvorscak
                                                         Texas Bar No. 24120461
                                                         STONE | HILTON PLLC
                                                         1115 W. Slaughter Lane
                                                         Austin, TX 78748
                                                         Telephone: (737) 465-3897
                                                         judd@stonehilton.com
                                                         chris@stonehilton.com
                                                         ari@stonehilton.com
                                                         alex@stonehilton.com

                                                         John C. Sullivan
                                                         Texas Bar No. 24083920
                                                         S|L LAW PLLC
                                                         610 Uptown Boulevard, Suite 2000
                                                         Cedar Hill, TX 75104
                                                         Telephone: (469) 523-1351
                                                         Facsimile: (469) 613-0891
                                                         john.sullivan@the-sl-lawfirm.com




                                                – 18 –
Case 4:23-cv-01175-O     Document 60       Filed 05/24/24      Page 23 of 23     PageID 602



                              CERTIFICATE OF SERVICE

      I hereby certify that on May 24, 2024, a copy of this document was served on all counsel

of record through the Court’s CM/ECF system in accordance with the Federal Rules of Civil

Procedure.


                                          /s/ Alexander M. Dvorscak
                                          Alexander M. Dvorscak




                                           – 19 –
